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 8                                  UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
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11   K.A., a minor, et al.,                      No.    CV 16-1247 PA (ASx)
12                            Plaintiffs,        JUDGMENT OF DISMISSAL
13
            v.
14
     BARACK HUSSEIN OBAMA II, et al.
15
                              Defendants.
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19          In accordance with the Court’s July 1, 2016 Order dismissing defendants Department
20   of Homeland Security, Department of Justice, Metropolitan Detention Center - Federal
21   Bureau of Prisons, and Immigrations Customs and Enforcement without prejudice; the
22   Court’s September 7, 2016 Order granting the Motion to Dismiss filed by defendants United
23   States of America and Barack Hussein Obama II and dismissing United States of America
24   and Barack Hussein Obama II with prejudice; and the Court’s September 16, 2016 Order
25   dismissing the action without prejudice,
26          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendants shall
27   have judgment in their favor;
28          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this action is
     dismissed without prejudice;
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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that plaintiffs take
 2   nothing and that defendants shall have their costs of suit.
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 4   DATED: September 16, 2016
                                                         _________________________________
 5                                                                  Percy Anderson
 6                                                             United States District Judge

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